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                                                     Service Employees International Union Local 521
18
                                    UNITED STATES DISTRICT COURT
19                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
20
     THE REGENTS OF THE UNIVERSITY OF                      CASE NO. 17-CV-05211-WHA
21   CALIFORNIA and JANET NAPOLITANO,
     in her official capacity as President of the          DECLARATION OF JESSE GABRIEL IN
22   University of California,                             SUPPORT OF PLAINTIFFS’ MOTION FOR
                                                           PROVISIONAL RELIEF
23                          Plaintiffs,

24                  v.

25   U.S. DEPARTMENT OF HOMELAND
     SECURITY and ELAINE DUKE, in her
26   official capacity as Acting Secretary of the
     Department of Homeland Security,
27
                            Defendants.
28

                                 DECLARATION OF JESSE GABRIEL IN SUPPORT OF
                                  PLAINTIFFS’ MOTION FOR PROVISIONAL RELIEF
                            All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)              1583
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 1   STATE OF CALIFORNIA, STATE OF                        CASE NO. 17-CV-05235-WHA
     MAINE, STATE OF MARYLAND, and
 2   STATE OF MINNESOTA,

 3                         Plaintiffs,

 4                  v.

 5   U.S. DEPARTMENT OF HOMELAND
     SECURITY, ELAINE DUKE, in her official
 6   capacity as Acting Secretary of the Department
     of Homeland Security, and the UNITED
 7   STATES OF AMERICA,

 8                         Defendants.

 9   CITY OF SAN JOSE, a municipal corporation,           CASE NO. 17-CV-05329-WHA
10                         Plaintiffs,
11                  v.
12   DONALD J. TRUMP, President of the United
     States, in his official capacity, ELAINE C.
13   DUKE, in her official capacity, and the
     UNITED STATES OF AMERICA,
14
                           Defendants.
15
     DULCE GARCIA, MIRIAM GONZALEZ                        CASE NO. 17-CV-05380-WHA
16   AVILA, SAUL JIMENEZ SUAREZ,
     VIRIDIANA CHABOLLA MENDOZA,
17   NORMA RAMIREZ, and JIRAYUT
     LATTHIVONGSKORN,
18
                           Plaintiffs,
19
                    v.
20
     UNITED STATES OF AMERICA, DONALD
21   J. TRUMP, in his official capacity as President
     of the United States, U.S. DEPARTMENT OF
22   HOMELAND SECURITY, and ELAINE
     DUKE, in her official capacity as Acting
23   Secretary of Homeland Security,
24                         Defendants.
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                                DECLARATION OF JESSE GABRIEL IN SUPPORT OF
                                 PLAINTIFFS’ MOTION FOR PROVISIONAL RELIEF
                           All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)   1584
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 1   COUNTY OF SANTA CLARA and                            CASE NO. 17-CV-05813-WHA
     SERVICE EMPLOYEES INTERNATIONAL
 2   UNION LOCAL 521,
 3                        Plaintiffs,
 4                 v.
 5   DONALD J. TRUMP, in his official capacity
     as President of the United States, JEFFERSON
 6   BEAUREGARD SESSIONS, in his official
     capacity as Attorney General of the United
 7   States; ELAINE DUKE, in her official
     capacity as Acting Secretary of the Department
 8   of Homeland Security; and U.S.
     DEPARTMENT OF HOMELAND
 9   SECURITY,
10                        Defendants.
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                                DECLARATION OF JESSE GABRIEL IN SUPPORT OF
                                 PLAINTIFFS’ MOTION FOR PROVISIONAL RELIEF
                           All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)   1585
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 1   I, JESSE GABRIEL, DECLARE:
 2            1.     I am an attorney at the law firm of Gibson, Dunn & Crutcher LLP, and counsel to
 3   Plaintiffs Dulce Garcia, Miriam Gonzalez Avila, Saul Jimenez Suarez, Viridiana Chabolla Mendoza,
 4   Norma Ramirez, and Jirayut Latthivongskorn (collectively, “Garcia Plaintiffs”) in the above-captioned
 5   matter. I submit this declaration in support of Plaintiffs’ Motion for Provisional Relief.
 6            2.     Attached hereto as Exhibit A is a true and correct copy of a Memorandum from INS
 7   General Counsel Sam Bernsen to INS Commissioner entitled “Legal Opinion Regarding Service
 8   Exercise of Prosecutorial Discretion,” dated July 15, 1976, available at https://goo.gl/uXW6Sg. (App. at
 9   1594–1601.) 1
10            3.     Attached hereto as Exhibit B is a true and correct copy of a Statement by President
11   Dwight Eisenhower Concerning the Entry Into the United States of Adopted Foreign-Born Orphans,
12   dated October 26, 1956, available at https://goo.gl/VDfcgW. (App. at 1602.)
13            4.     Attached hereto as Exhibit C is a true and correct copy of a White House Statement
14   Concerning the Admission of Additional Hungarian Refugees, dated December 1, 1956, available at
15   https://goo.gl/D4DMuS. (App. at 1603.)
16            5.     Attached hereto as Exhibit D is a true and correct copy of a letter from President John F.
17   Kennedy to Secretary Abraham Ribicoff, dated January 27, 1961, available at https://goo.gl/Hnf1LL.
18   (App. at 1604.)
19            6.     Attached hereto as Exhibit E is a true and correct copy of a USCIS publication entitled
20   “Refugee Timeline,” last updated June 27, 2017, available at https://goo.gl/5fhA9y. (App. at 1605–
21   1606.)
22            7.     Attached hereto as Exhibit F is a true and correct copy of “Legalization and Family
23   Fairness – An Analysis” by Alan Nelson, dated October 26, 1987. (App. at 1607–1611.)
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26    1
        Pursuant to their concurrently filed Request for Judicial Notice, Plaintiffs respectful request that the
     Court take judicial notice of the documents attached hereto as Exhibits A, B, C, D, E, F, G, I, J, K, L, M,
27   N, O, Q, R, S, T, U, V, W, AA, CC, DD, KK, LL, PP, QQ, RR, SS, TT, UU, VV, WW, YY, ZZ, AAA,
28   BBB, and CCC.
                                                           1
                                 DECLARATION OF JESSE GABRIEL IN SUPPORT OF
                                  PLAINTIFFS’ MOTION FOR PROVISIONAL RELIEF
                            All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)               1586
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 1          8.     Attached hereto as Exhibit G is a true and correct copy of a memorandum from INS

 2   Commissioner Gene McNary to Regional Commissioners entitled “Family Fairness: Guidelines for

 3   Voluntary Departure under 8 CFR 242.5 for the Ineligible Spouses and Children of Legalized Aliens,”

 4   dated February 2, 1990, available at https://goo.gl/7wcLLy. (App. at 1612–1613.)

 5          9.     Attached hereto as Exhibit H is a true and correct copy of “As Growth Stalls,

 6   Unauthorized Immigrant Population Becomes More Settled” by Pew Research Center, dated September

 7   3, 2014, available at https://goo.gl/JPw5U6. (App. at 1614–1639.)

 8          10.    Attached hereto as Exhibit I is a true and correct copy of a memorandum from Paul

 9   Virtue for the Acting Executive Associate Commissioner to Regional Directors, District Directors,

10   Officers-in-Charge, and Service Center Directors, entitled “Supplemental Guidance on Battered Alien

11   Self-Petitioning Process and Related Issues,” dated May 6, 1997, available at https://goo.gl/QEp4kX.

12   (App. at 1640–1649.)

13          11.    Attached hereto as Exhibit J is a true and correct copy of a memorandum from Stuart

14   Anderson to Johnny N. Williams, entitled “Deferred Action for Aliens with bona fide Applications for T

15   Nonimmigrant Status,” dated May 8, 2002, available at https://goo.gl/BUvRpU. (App. at 1650–1651.)

16          12.    Attached hereto as Exhibit K is a true and correct copy of a memorandum from USCIS

17   Associate Director of Operations William R. Yates to Director, Vermont Service Center, entitled

18   “Centralization for Interim Relief For U Nonimmigrant Status Applications,” dated October 8, 2003,

19   available at https://goo.gl/tBvYwN. (App. at 1652–1658.)

20          13.    Attached hereto as Exhibit L is a true and correct copy of a USCIS publication entitled

21   “Victims of Human Trafficking & Other Crimes,” last updated August 25, 2017, available at

22   https://goo.gl/wwV6jF. (App. at 1659–1660.)

23          14.    Attached hereto as Exhibit M is a true and correct copy of a USCIS Press Release entitled

24   “USCIS Announces Interim Relief For Foreign Students Adversely Impacted By Hurricane Katrina,”

25   dated November 25, 2005, available at https://goo.gl/rRmaHm. (App. at 1661–1662.)

26          15.    Attached hereto as Exhibit N is a true and correct copy of a memorandum from Donald

27   Neufeld to USCIS Field Leadership, entitled “Guidance Regarding Surviving Spouses of Deceased U.S.

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                                 DECLARATION OF JESSE GABRIEL IN SUPPORT OF
                                  PLAINTIFFS’ MOTION FOR PROVISIONAL RELIEF
                            All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)             1587
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 1   Citizens and their Children,” dated September 4, 2009, available at https://goo.gl/cAXvUR. (App. at

 2   1663–1671.)

 3          16.     Attached hereto as Exhibit O is a true and correct copy of a memorandum from Donald

 4   Neufeld to USCIS Executive Leadership, entitled “Additional Guidance Regarding Surviving Spouses

 5   of Deceased U.S. Citizens and their Children,” dated December 2, 2009, available at

 6   https://goo.gl/T9dECx. (App. at 1672–1682.)

 7          17.     Attached hereto as Exhibit P is a true and correct copy of a brief filed in the Supreme

 8   Court by Former Federal Immigration And Homeland Security Officials As Amici Curiae In Support Of

 9   The United States in United States v. Texas, No. 15-674, dated March 8, 2016, available at

10   http://www.scotusblog.com/wp-content/uploads/2016/03/USvTexas-AmicusBriefofFormer

11   ImmigrationOfficials.pdf. (App. at 1683–1738.)

12          18.     Attached hereto as Exhibit Q is a true and correct copy of Remarks on Immigration

13   Reform and an Exchange with Reporters by President Barack Obama, dated June 15, 2012, available at

14   https://obamawhitehouse.archives.gov/the-press-office/2012/06/15/remarks-president-immigration.

15   (App. at 1739–1741.)

16          19.     Attached hereto as Exhibit R is a true and correct copy of an archived USCIS publication

17   of Frequently Asked Questions regarding DACA, available at https://www.uscis.gov/

18   archive/frequently-asked-questions. (App. at 1742–1761.)

19          20.     Attached hereto as Exhibit S is a true and correct copy of a USCIS publication entitled

20   “F5—General information… How do I request consideration of deferred action for childhood arrivals?,”

21   dated October 2013, available at https://www.uscis.gov/sites/default/files/files/nativedocuments/

22   daca.pdf. (App. at 1762–1764.)

23          21.     Attached hereto as Exhibit T is a true and correct copy of a USCIS publication entitled

24   “(DACA) Toolkit,” dated June 2014, https://www.uscis.gov/sites/default/files/USCIS/Humanitarian/

25   Deferred%20Action%20for%20Childhood%20Arrivals/DACA_Toolkit_CP_072914.pdf. (App. at

26   1765–1798.)

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                                 DECLARATION OF JESSE GABRIEL IN SUPPORT OF
                                  PLAINTIFFS’ MOTION FOR PROVISIONAL RELIEF
                            All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)                 1588
              Case 3:17-cv-05211-WHA Document 121 Filed 11/01/17 Page 7 of 11



 1            22.   Attached hereto as Exhibit U is a true and correct copy of a USCIS publication entitled

 2   “Don’t Let Your Work Permit Expire; Follow These DACA Renewal Tips,” last updated June 5, 2015,

 3   https://www.uscis.gov/archive/dont-let-your-work-permit-expire-follow-these-daca-renewal-tips. (App.

 4   at 1799–1800.)

 5            23.     Attached hereto as Exhibit V is a true and correct copy of USCIS Form I-821D, entitled

 6   “Consideration of Deferred Action for Childhood Arrivals,” dated January 9, 2017. (App. at 1801–

 7   1821.)

 8            24.   Attached hereto as Exhibit W is a true and correct copy of a letter from Secretary Jeh

 9   Johnson to Congresswoman Judy Chu, dated December 30, 2016, available at https://chu.house.gov/

10   sites/chu.house.gov/files/documents/DHS.Signed%20Response%20to%20Chu%2012.30.16.pdf. (App.

11   at 1822–1823.)

12            25.   Attached hereto as Exhibit X is a true and correct copy of the transcript from “Town Hall

13   Meeting with House Speaker Paul Ryan,” which aired on CNN on January 12, 2017, available at

14   http://cnn.it/2oyJXJJ. (App. at 1824–1839.)

15            26.   Attached hereto as Exhibit Y is a true and correct copy of “Wary Democrats look to

16   Kelly for answers on immigration” by Ted Hesson and Seung Min Kim, published in Politico, dated

17   March 29, 2017, available at http://politi.co/2mR3gSN. (App. at 1840–1842.)

18            27.   Attached hereto as Exhibit Z is a true and correct copy of the transcript from Associated

19   Press White House Correspondent Julie Pace’s interview with President Trump, dated April 24, 2017,

20   available at https://www.cbsnews.com/news/transcript-of-ap-interview-with-trump. (App. at 1843–

21   1858.)

22            28.   Attached hereto as Exhibit AA is a true and correct copy of a letter from Tennessee

23   Attorney General Herbert H. Slatery III to Senators Lamar Alexander and Bob Corker, dated September

24   1, 2017, available at http://static1.1.sqspcdn.com/static/f/373699/27673058/1504293882007/

25   DACA%2Bletter%2B9-1-2017.pdf?token%3DstUlwSIo3qeVjBe7%252BUHbTCIuvts%253D. (App. at

26   1859–1860.)

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                                 DECLARATION OF JESSE GABRIEL IN SUPPORT OF
                                  PLAINTIFFS’ MOTION FOR PROVISIONAL RELIEF
                            All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)                1589
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 1            29.   Attached hereto as Exhibit BB is a true and correct copy of an open letter from Leaders

 2   of American Industry to President Trump, dated August 31, 2017, available at https://dreamers.fwd.us/

 3   business-leaders. (App. at 1861–1865.)

 4            30.   Attached hereto as Exhibit CC is a true and correct copy of Remarks on DACA, as

 5   prepared for delivery, by Attorney General Jefferson Sessions, dated September 5, 2017, available at

 6   https://www.justice.gov/opa/speech/attorney-general-sessions-delivers-remarks-daca. (App. at 1866–

 7   1868.)

 8            31.   Attached hereto as Exhibit DD is a true and correct copy of “Statement from Acting

 9   Secretary Duke on the Rescission of Deferred Action for Childhood Arrivals (DACA),” dated

10   September 5, 2017, available at https://www.dhs.gov/news/2017/09/05/statement-acting-secretary-duke-

11   rescission-deferred-action-childhood-arrivals-daca. (App. at 1869–1870.)

12            32.   Attached hereto as Exhibit EE is a true and correct copy of excerpts of the deposition

13   transcript of James McCament, dated October 17, 2017. (App. at 1871–1908.)

14            33.   Attached hereto as Exhibit FF is a true and correct copy of excerpts of the deposition

15   transcript of Gene Hamilton, dated October 20, 2017. (App. at 1909–1931.)

16            34.   Attached hereto as Exhibit GG is a true and correct copy of “Trump Administration

17   Memo: DACA Recipients Should Prepare for ‘Departure’” by Kristen Welker & Daniel Arkin,

18   published in NBC NEWS, dated September 5, 2017, available at https://www.nbcnews.com/politics/

19   immigration/white-house-memo-daca-recipients-should-prepare-departure-n799026. (App. at 1932.)

20            35.   Attached hereto as Exhibit HH is a true and correct copy of excerpts of the deposition

21   transcript of James Nealon, dated October 13, 2017. (App. at 1933–1947.)

22            36.   Attached hereto as Exhibit II is a true and correct copy of “Executive Grants of

23   Temporary Immigration Relief, 1956-Present” by American Immigration Counsel, dated October 2,

24   2014, available at https://tinyurl.com/y76nnve7. (App. at 1948–1957.)

25            37.   Attached hereto as Exhibit JJ is a true and correct copy of a Tweet sent by President

26   Trump at 5:38 pm on September 5, 2017, available at https://twitter.com/realDonaldTrump/

27   status/905228667336499200. (App. at 1958.)

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                                DECLARATION OF JESSE GABRIEL IN SUPPORT OF
                                 PLAINTIFFS’ MOTION FOR PROVISIONAL RELIEF
                           All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)                 1590
             Case 3:17-cv-05211-WHA Document 121 Filed 11/01/17 Page 9 of 11



 1          38.     Attached hereto as Exhibit KK is a true and correct copy of the transcript of the testimony

 2   of Attorney General Jefferson Sessions before the Senate Judiciary Committee, dated October 18, 2017.

 3   (App. at 1959–1989.)

 4          39.     Attached hereto as Exhibit LL is a true and correct copy of a White House publication

 5   entitled “President Donald J. Trump’s Letter to House and Senate Leaders & Immigration Principles and

 6   Policies,” dated October 8, 2017, available at https://www.whitehouse.gov/the-press-

 7   office/2017/10/08/president-donald-j-trumps-letter-house-and-senate-leaders-immigration. (App. at

 8   1990–2003.)

 9          40.     Attached hereto as Exhibit MM is a true and correct copy of “White House Makes Hard-

10   Line Demands for Any ‘Dreamers’ Deal,” by Michael D. Shear, published in The New York Times,

11   dated October 8, 2017, available at https://www.nytimes.com/2017/10/08/us/politics/white-house-

12   daca.html. (App. at 2004–2008.)

13          41.     Attached hereto as Exhibit NN is a true and correct copy of excerpts of the deposition

14   transcript of Donald Neufeld, dated October 18, 2017. (App. at 2009–2027.)

15          42.     Attached hereto as Exhibit OO is a true and correct copy of excerpts from Defendants’

16   Objections and Responses to Plaintiffs’ First Set of Interrogatories to Defendants, Batalla Vidal v. Duke,

17   Case No. 16–cv-4756 (E.D.N.Y.) (NGG)(JO), dated Oct. 16, 2017. (App. at 2028–2043.)

18          43.     Attached hereto as Exhibit PP is a true and correct copy of excerpts of the transcript of

19   the testimony of Secretary Elaine Duke before the Senate Committee on Homeland Security and

20   Government Affairs, dated September 27, 2017. (App. at 2044–2057.)

21          44.     Attached hereto as Exhibit QQ is a true and correct copy of a Department of Homeland

22   Security publication entitled “Fact Sheet: Rescission Of Deferred Action For Childhood Arrivals

23   (DACA),” dated September 5, 2017, available at https://www.dhs.gov/news/2017/09/05/fact-sheet-

24   rescission-deferred-action-childhood-arrivals-daca. (App. at 2058–2060.)

25          45.     Attached hereto as Exhibit RR is a true and correct copy of a USCIS publication entitled

26   “Consideration of Deferred Action for Childhood Arrivals: Guidance for Employers,” dated November

27   20, 2012, available at https://www.uscis.gov/sites/default/files/USCIS/Humanitarian/Deferred%20

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                                                           6
                                 DECLARATION OF JESSE GABRIEL IN SUPPORT OF
                                  PLAINTIFFS’ MOTION FOR PROVISIONAL RELIEF
                            All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)                1591
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 1   Action%20for%20Childhood%20Arrivals/DACA-Fact-Sheet-I-9_Guidance-for-employers_

 2   nov20_2012.pdf. (App. at 2061–2062.)

 3          46.     Attached hereto as Exhibit SS is a true and correct copy of a letter from ICE Director

 4   John Morton to All Employees entitled “Secretary Napolitano’s Memorandum Concerning the Exercise

 5   of Prosecutorial Discretion for Certain Removable Individuals Who Entered the United States as a

 6   Child,” dated June 15, 2012, available at https://www.ice.gov/doclib/about/offices/ero/pdf/s1-certain-

 7   young-people-morton.pdf. (App. at 2063–2064.)

 8          47.     Attached hereto as Exhibit TT is a true and correct copy of a Social Security

 9   Administration publication entitled “Social Security Number and Card—Deferred Action For Childhood

10   Arrivals,” available at https://www.ssa.gov/pubs/deferred_action.pdf. (App. at 2065.)

11          48.     Attached hereto as Exhibit UU is a true and correct copy of USCIS Form G-1145,

12   entitled “e-Notification of Application/Petition Acceptance,” available to download at

13   https://www.uscis.gov/g-1145. (App. at 2066.)

14          49.     Attached hereto as Exhibit VV is a true and correct copy of USCIS Form I-765, entitled

15   “Application for Employment Authorization,” dated January 17, 2017, available to download at

16   https://www.uscis.gov/i-765. (App. at 2067–2087.)

17          50.     Attached hereto as Exhibit WW is a true and correct copy of a letter from California

18   Attorney General Xavier Becerra to President Trump, dated July 21, 2017, available at

19   https://oag.ca.gov/system/files/attachments/press_releases/7-21-17%20%20Letter%20from%20State%

20   20AGs%20to%20President%20Trump%20re%20DACA.final_.pdf. (App. at 2088–2091.)

21          51.     Attached hereto as Exhibit XX is a true and correct copy of a publication by Center for

22   American Progress, entitled “Study: The Impact of Deferred Action for Childhood Arrivals (DACA)

23   Program Repeal on Jobs,” available at https://dreamers.fwd.us/wp-content/uploads/2017/08/20170823-

24   DACA-Job-Loss-Report.pdf. (App. at 2092–2099.)

25          52.     Attached hereto as Exhibit YY is a true and correct copy of USCIS, “I-821D,

26   Consideration of Deferred Action for Childhood Arrivals,” last updated October 6, 2017, available at

27   https://www.uscis.gov/archive/i-821d. (App. at 2100–2103.)

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                                DECLARATION OF JESSE GABRIEL IN SUPPORT OF
                                 PLAINTIFFS’ MOTION FOR PROVISIONAL RELIEF
                           All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)                 1592
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